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 5
     Attorneys for Defendant WESTCHESTER
 6 FIRE INSURANCE COMPANY
 7
 8                              UNITED STATES DISTRICT COURT
 9              NORTHERN DISTRICT OF CALIFORNIA – SAN JOSE DIVISION
10
11 WEST MARINE PRODUCTS, INC., a                      Case No. 5:21-cv-01940-EJD
     California Corporation,                          [Assigned to United States District
12                                                    Judge Edward J. Davila and United
                      Plaintiffs,                     States Magistrate Judge Nathanael M.
13                                                    Cousins]
                v.
14                                                    JOINT NOTICE OF SETTLEMENT
     NATIONAL UNION FIRE
15   INSURANCE COMPANY OF
     PITTSGURGH, PA, a Pennsylvania
16   Corporation; WESTCHESTER FIRE
     INSURANCE COMPANY, a
17   Pennsylvania Corporation; FEDERAL
     INSURANCE COMPANY, a New
18   Jersey Corporation; and DOES 1
     through 10, inclusive,
19
                      Defendants.
20
21
22                              JOINT NOTICE OF SETTLEMENT
23              Plaintiff West Marine Products, Inc. and Defendant Westchester Fire
24 Insurance Company give notice that the parties have reached a settlement of all
25 claims asserted in this case. The parties have executed a written settlement
26 agreement, and they anticipate filing a stipulation for dismissal with prejudice
27 within the next 30-45 days. In light of the settlement, the parties withdraw the
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     349064.1
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                                    JOINT NOTICE OF SETTLEMENT
                                                             Case 5:21-cv-01940-EJD Document 70 Filed 03/23/23 Page 2 of 4




                                                    1 following pending motions: (1) Westchester’s Motion for Judgment on the
                                                    2 Pleadings (Docket #53); and (2) West Marine’s Request for Leave to File Amended
                                                    3 Complaint (Docket #56).
                                                    4
                                                    5 Dated: March 23, 2023                      CLYDE & CO US LLP
                                                    6
                                                    7
                                                    8
                                                                                           By:         /s/ Sean R. Simpson
                                                                                                 Ralph A. Guirgis
                                                    9                                            Sean R. Simpson
                                                   10                                            Attorneys for Defendants
                                                                                                 WESTCHESTER FIRE INSURANCE
                                                   11                                            COMPANY and FEDERAL INSURANCE
                                                   12                                            COMPANY
                    2020 Main Street, Suite 1100

                     Telephone: (949) 852-8200
CLYDE & CO US LLP

                       Irvine, California 92614




                                                   13
                                                        Dated: March 23, 2023                    PASICH LLP
                                                   14
                                                   15
                                                                                            By: /s/ Shaun H. Crosner
                                                   16                                          Shaun H. Crosner
                                                                                               Michael S. Gehrt
                                                   17                                          Jacquelyn M. Mohr
                                                                                               Attorneys for Plaintiff WEST MARINE
                                                   18                                          PRODUCTS, INC.
                                                   19
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                                                                                  JOINT NOTICE OF SETTLEMENT
          Case 5:21-cv-01940-EJD Document 70 Filed 03/23/23 Page 3 of 4




 1                                       ATTESTATION
 2              I, Sean R. Simpson, am the ECF user whose identification and password are
 3 being used to file the instant document. Pursuant to Local Rule 5-l(i)(3), I certify
 4 that all other signatories listed in this document, and on whose behalf the filings are
 5 submitted, concur in the filings’ content and have authorized filings.
 6
 7
     Dated: March 23, 2023
 8
 9                                                /s/ Sean R. Simpson
                                              Sean R. Simpson
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                                   JOINT NOTICE OF SETTLEMENT
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                                                    1                                       CERTIFICATE OF SERVICE

                                                    2    West Marine Products, Inc. v. National Union Fire Insurance Company of Pittsburgh, PA, et
                                                                                                    al.
                                                    3                   USDC, Northern District of California - San Jose Division
                                                                                        Case No. 5:21-cv-01940-EJD
                                                    4
                                                        STATE OF CALIFORNIA, COUNTY OF ORANGE
                                                    5
                                                             At the time of service, I was over 18 years of age and not a party to this action. I am
                                                    6 employed  in the County of Orange, State of California. My business address is 2020 Main Street,
                                                      Suite 1100, Irvine, CA 92614.
                                                    7
                                                           On March 23, 2023, I served true copies of the following document(s) described as JOINT
                                                    8 NOTICE OF SETTLEMENT on the interested parties in this action as follows:

                                                    9    Shaun H. Crosner                                      Attorneys for Plaintiff West Marine Products,
                                                         Michael S. Gehrt                                      Inc.
                                                   10    Jacquelyn M. Mohr
                                                         PASICH LLP
                                                   11    1230 Rosecrans Avenue, Suite 690
                                                         Manhattan Beach, California 90266
                                                   12
                    2020 Main Street, Suite 1100

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CLYDE & CO US LLP




                                                         Telephone: (424) 313-7860
                       Irvine, California 92614




                                                   13    Facsimile: (424) 313-7890
                                                         Email: SCrosner@PasichLLP.com
                                                   14    Email: MGehrt@PasichLLP.com
                                                         Email: JMohr@PasichLLP.com
                                                   15
                                                              BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed the
                                                   16 document(s)  with the Clerk of the Court by using the CM/ECF system. Participants in the case
                                                      who are registered CM/ECF users will be served by the CM/ECF system. Participants in the case
                                                   17 who are not registered CM/ECF users will be served by mail or by other means permitted by the
                                                      court rules.
                                                   18
                                                             I declare under penalty of perjury under the laws of the United States of America that the
                                                   19 foregoing is true and correct and that I am employed in the office of a member of the bar of this
                                                      Court at whose direction the service was made.
                                                   20
                                                                   Executed on March 23, 2023, at Irvine, California.
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                                                   23                                                       Conchita Nickles
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                                                                                          JOINT NOTICE OF SETTLEMENT
